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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION



 ROTHSCHILD BROADCAST DISTRIBUTION                         CASE NO. 6:15-CV-238-RWS-JDL
 SYSTEMS, LLC,

                Plaintiff,
                                                           JURY TRIAL DEMANDED
        v.

 CRUNCHYROLL, INC.,

                Defendant.



                    STIPULATION OF DISMISSAL OF DEFENDANT
                 CRUNCHYROLL , INC. , PURSUANT TO FED. R. CIV. P. 41


        Pursuant to Fed. R. Civ. P. 41(a), Plaintiff Rothschild Broadcast Distribution Systems,

 LLC, and Defendant Crunchyroll, Inc., hereby stipulate to dismiss with prejudice all claims

 against Defendant Crunchyroll, Inc., in the above-captioned action. Each party is to bear its own

 attorneys’ fees and costs.

        A proposed order is attached.
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 DATED: August 31, 2015                Respectfully Submitted,


                                       By:/s/Charles Ainsworth

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                                       DISTRIBUTION SYSTEMS, LLC


                                       By: /s/ Bryan A. Kohm with permission
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have
 consented to electronic service are being served this 31st day of August, 2015, with a copy of this
 document via the Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of
 record will be served by, electronic mail, facsimile transmission and/or first class mail on this
 same date.

                                              /s/ Charles Ainsworth
                                              Charles Ainsworth




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